Case 2:05-cr-20279-SH|\/| Document 15 Filed 08/24/05 Page 1 of 2 Page|D 21

IN THE UNITED STATES DISTR_ICT COURT

    

FoR THE WESTERN DISTRICT oF TENNESSEE also ar _ D.c.
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V' Cr. No. 05-20279_Ma l§,U 31 t .,

RODERICK K. SMITH
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant has this day notified the Court that he or she is attempting to obtain private
counsel to represent him or her in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 316l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay While
attempting to obtain private counsel.

IT IS THEREFORE ORDERED that the time period of 08/24/05 through 09/07/05 be
excluded from the time limits imposed by the Speedy Tria] Act for trial of this case, While the
defendant is attempting to obtain private counsel.

ARRAIGNMENT IS RESET TO WEDNESDAY, September 7, 2005 at 9:30 a.m.

BEFORE MAGISTRATE JUDGE VESCOVO.

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UNITED STATES MAGISTRATE IUDGE

DATE: LU(J¢¢/' 2.\/; 2001"'

This document entered on the docket sheet in compliance

with Ruie 55 and/er 32(b) FRch cna / ¢2 j v O, §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-20279 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

